                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA            )
                                    )                 Criminal Case No. 21-CR-00041-JL
      v.                            )
                                    )
IAN FREEMAN,                        )
            Defendant               )
                                    )
___________________________________ )


                      GOVERNMENT’S PROPOSED WITNESS LIST

       The United States of America offers the following list of potential witnesses who may be

called to testify at trial which begins on December 6, 2022.

                                         Rebecca Ault
                                    Bowling Green, Kentucky

                                         Patrick Brown
                                        Spicewood, Texas

                                         Darlene Cacace
                                 Federal Bureau of Investigation

                                          Hope Cherry
                                Agricultural Federal Credit Union

                                         Karla Cino
                                      Dumont, New Jersey

                                         Ali Comolli
                           Formerly, Federal Bureau of Investigation

                                        Connie Creach
                                      Yakima, Washington

                                          Kate Eyerman
                                           Paxos/ItBit

                                          Derek Feather

                                                  1
             Manchester Police Department

                   Colleen Fordham
               Alstead, New Hampshire

                 Heather Geraci-Cole
                 Service Credit Union

                 Lecily Bailey Jackson
                  Cordova, Tennessee

                   Shirley Jimeno
                  Wimauma, Florida

                     Harold Jones
                   Liberty, Missouri

                      Yu Kajita
            Federal Bureau of Investigation

                 Kendall McBrearty
            Federal Bureau of Investigation

                   Kevin McCusker
            Federal Bureau of Investigation

                  Erin Montgomery
            Federal Bureau of Investigation

                    Nick Nathans
       Formerly, Federal Bureau of Investigation

                Melanie Neighbours
             Manchester, New Hampshire

                   Scott O’Donnell
            Federal Bureau of Investigation

                    Pavel Prilotsky
Internal Revenue Service-Criminal Investigation Division

                   Colleen Ranahan
Internal Revenue Service-Criminal Investigation Division


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                                 Christopher Reitmann
                                Alstead, New Hampshire

                                     James Rossell
                                  Rockwood, Tennessee

                                     Renee Spinella
                                 Nashua, New Hampshire

                                       Bruce Sweet
                          United States Postal Inspection Service

                                     Katie Thibault
                             Federal Bureau of Investigation

                                     Nancy Triestram
                                     Elkhart, Indiana

                                    Theodore Valahakis
                          Financial Crimes Enforcement Network

                                      Danella Varel
                                   Punta Gorda, Florida

                                      Rebecca Viar
                                   Clinton, Tennessee

                                      Dustin Wong
                             Federal Bureau of Investigation


Date: November 30, 2022                           Respectfully submitted,

                                                  JANE E. YOUNG
                                                  UNITED STATES ATTORNEY

                                                  /s/ Georgiana L. MacDonald
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    /s/ Seth R. Aframe
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